                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 23-3045                                                September Term, 2023
                                                                    1:21-cr-00140-JDB-1
                                                  Filed On: March 1, 2024 [2043023]
United States of America,

              Appellee

      v.

Larry Rendall Brock,

              Appellant

                                        ORDER

         It is ORDERED, on the court's own motion, that the Clerk withhold issuance of
the mandate herein until seven days after disposition of any timely petition for rehearing
or petition for rehearing en banc. See Fed. R. App. P. 41(b); D.C. Cir. Rule 41. This
instruction to the Clerk is without prejudice to the right of any party to move for
expedited issuance of the mandate for good cause shown.

                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Daniel J. Reidy
                                                         Deputy Clerk
